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                                       UNITED STATES DISTRICT COURT
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                                      CENTRAL DISTRICT OF CALIFORNIA
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11   JANE DOE,                                        Case No.: 2:22-cv-02344-MEMF
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                                   Plaintiff,         ORDER GRANTING PLAINTIFF’S
13                         v.                         REQUEST FOR ATTORNEY’S FEES AND
                                                      COSTS [ECF NO. 86]
14   JOSEPH DIAZ JR.,
15                                 Defendant.
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             Before the Court is Plaintiff Jane Doe’s Request for Attorney’s Fees and Costs. ECF No. 86.
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     For the reasons stated herein, the Court hereby GRANTS the Request for Attorney’s Fees and Costs.
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        I.      Background
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             On February 22, 2024, the Court granted Plaintiff Jane Doe’s Motion for Default Judgment.
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     ECF No. 85 (“MDJ Order”). Along with granting Doe default judgment for violation of 17 U.S.C.
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     Section 2422(b) and remedies under 18 U.S.C. Section 2255, the Court found that attorney’s fees are
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     “statutorily-prescribed under Section 2255.” MDJ Order at 7. Accordingly, the Court ordered


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 1   counsel for Doe to brief the amount of attorney’s fees and costs sought 15 days of entry of the MDJ
 2   Order. MDJ Order at 8. The Court also gave Defendant Joseph Diaz, Jr. 15 days to respond to any
 3   briefing on fees submitted by Doe. Id. On March 8, 2024, Doe timely filed the instant Request for
 4   Attorney’s Fees and Costs. ECF No. 86 (the “Fee Request”). Diaz did not file any opposition.
 5         II.      Discussion
 6               The Ninth Circuit has instructed that a district court should “calculate an award of attorneys’
 7   fees by first calculating the ‘lodestar,’” which is calculated by “multiplying the number of hours the
 8   prevailing party reasonably expended on the litigation by a reasonable hourly rate.” Caudle v.
 9   Bristow Optical Co., Inc., 224 F.3d 1014, 1028 (9th Cir. 2000). After arriving at the lodestar figure,
10   “[t]he district court may then adjust upward or downward based on a variety of factors.” Moreno v.
11   City of Sacramento, 534 F.3d 1106, 1111 (9th Cir. 2008).
12                  A. The Hourly Rates Requested are Reasonable

13               The Court finds the hourly rates requested by Doe’s counsel reasonable. Doe sets forth fees

14   calculated utilizing the “Fitzpatrick Matrix,” which is a chart published by the U.S. Attorney’s

15   Office for the District of Columbia to provide “a reliable assessment of fees charged for complex

16   federal litigation” in that district. U.S. Attorney’s Office for the District of Columbia, Civil Division,

17   The Fitzpatrick Matrix, https://www.justice.gov/usao-dc/page/file/1504361/dl.1 The Court finds the

18   rates set in the Fitzpatrick Matrix to be along the lines of prevailing rates in this district “for similar

19   services by lawyers of reasonable skill, experience, and reputation.” See Prison Legal News v.

20   Schwarzenegger, 608 F.3d 446, 454–55 (9th Cir. 2010) (“Generally, when determining a reasonable

21   hourly rate, the relevant community is the forum in which the district court sits.”); see also Perfect

22   10, Inc. v. Giganews, Inc., 2015 WL 1746484, at *30 (C.D. Cal. March 24, 2015) (awarding fees

23   based on rates ranging from $360 for junior associates and $930 for senior partners). Here, Doe

24   seeks fees ranging from $220 for staff to $807 for senior attorneys. Fee Request at 86.

25               Accordingly, the Court finds the requested rates reasonable.

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28     Doe’s law firm is headquartered in Washington, D.C., with an office in Anaheim, California. ECF No. 86-2
     (“Dhungana Decl.”) ¶ 2.


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                   B. The Number of Hours Billed and Costs Incurred Are Largely Reasonable
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             The Court finds the number of hours expended generally reasonable, although it notes a few
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     inconsistencies in the timekeeping that it will adjust for. In total, the timekeepers for Doe’s counsel
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     expended a total of 196 hours over the course of this litigation. The Court finds this reasonable in
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     light of the fact that the case has been ongoing for almost two years—in large part because of Diaz’s
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     actions in dragging the case out. The hours spent are also reasonable based on the scope of the work
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     necessary to prosecute this case, including the motion practice Doe had to engage in as a response to
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     Diaz’s actions in this litigation. However, the Court notes that there are a few inconsistencies where
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     different timekeepers noted down different lengths for conferences, for which the Court will adjust
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     to the shorter time.2 Further, the Court finds the costs incurred to be reasonable. The bulk of the
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     costs appear to be incurred by necessary travel by counsel to hearings for this case as well as process
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     service on Diaz.
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             Accordingly, the Court finds that an award of $109,766.50 in attorney’s fees and $5,806.20
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     in costs to be reasonable.
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      There are discrepancies for telephone conferences between: James C. Asbill (0.6) and Laura Berry (0.4) on
27   September 6, 2022; Saroja Koneru (0.4) and Timothy S. Kittle (0.5) on March 30, 2023; Saroja Koneru (0.4)
     and Timothy S. Kittle (0.2) on April 13, 2023; and Saroja Koneru (0.2) and Timothy S. Kittle (0.3) on May
28   22, 2023. Accordingly, the Court subtracts 0.2 of a $584 rate ($116.8), 0.1 of a $717 rate ($71.7), 0.2 of a
     $502 rate ($100.4), and 0.1 of a $717 rate ($71.7), for a total of $360.60 to be taken off the amount requested.


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